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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    ROXANA AVILA-CIMPEANU (FIRRP)
              Plaintiffs,             IN SUPPORT OF PLAINTIFFS’
                                      MOTION FOR A PRELIMINARY
     v.                               INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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   SUPPLEMENTAL DECLARATION OF ROXANA AVILA-CIMPEANU, DEPUTY
  DIRECTOR, THE FLORENCE IMMIGRANT AND REFUGEE RIGHTS PROJECT

I, Roxana Avila-Cimpeanu, make the following statements on behalf of myself and The Florence
Immigrant and Refugee Rights Project. I certify under penalty of perjury that the following
statement is true and correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-4) as if fully set forth herein.
   2. My name is Roxana Avila-Cimpeanu. I am a licensed attorney and a member in good
      standing in the State Bar of Arizona. I am currently employed as Deputy Director of the
      Florence Immigrant & Refugee Rights Project (“Florence Project” or “FIRRP”). I joined
      the Florence Project on September 6, 2016, and have served in my current role since
      September 2024. Before I assumed my current position, I previously served as Children’s
      Legal Program Manager, Managing Attorney for the Children’s Pro Bono Program, Pro
      Bono Mentor, Staff Attorney, and Law Graduate with the Florence Project's Children’s
      Legal Program serving unaccompanied immigrant children in Arizona. During my time at
      the Florence Project, I have personally provided free legal services, including friend of
      court services, direct representation, legal orientation and education, and pro bono
      mentorship, to at least 140 children. Additionally, as Children’s Legal Program Manager
      and Deputy Director I have supervised attorneys, pro bono volunteer attorneys, law
      graduates, accredited representatives, legal assistants, intake specialists, and social workers
      who have provided free legal services, both direct representation and pro se services, to
      thousands of individuals detained in Office of Refugee Resettlement “ORR” and ICE
      custody in Arizona.
   3. Since filing the Motion for Temporary Restraining Order (TRO) on March 27, 2025, the
      Florence Project has continued to provide services to our clients, drawing on funding from
      other sources and fundraising to ensure that we are able to provide legal representation, pro
      bono placement and mentoring, additional legal services, court preparation, and friend of
      court services to unrepresented children in keeping with our mission for as long as we can
      responsibly financially manage to do so. Since the termination order on March 21, 2025,
      Florence Project staff have provided over 500 hours of programmatic services that would
      have fallen under terminated portions of the UCP, including meeting with clients, preparing
      necessary applications and filings, preparing individuals for upcoming hearings and
      interviews, attending Immigration Court hearings, attending juvenile court hearings
      necessary for children who have been abandoned, abused, or neglected to seek immigration
      relief, and collecting and tracking necessary data and documentation for case management.




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4. FIRRP attorneys have several important and imminent hearings for clients, for which
   withdrawal of representation would cause great harm to the children’s cases and lives.
   FIRRP staff have at least eleven EOIR hearings and fourteen state court hearings scheduled
   for clients in the coming weeks. The hearings are essential to avoid removal while the
   children seek relief, including state court predicate orders for abused, abandoned, or
   neglected children.
5. The significant harms to our clients and our organizational mission that will take place if
   we are unable to continue our representation and other legal services are being exacerbated
   by current government policies that are accelerating the speed and need for immediate legal
   services. For example, in the Tucson Immigration Court, we have seen a return to so-called
   “rocket dockets,” in which the government is rapidly scheduling a child to appear in court,
   moving them quickly into removal proceedings, even knowing that many such children are
   likely to reunify with sponsors outside of Arizona and should have their cases scheduled
   in those other locations. Indeed, in the Tucson Immigration Court children’s names are
   being added to the docket before their Notice to Appear, the official charging document, is
   even formally filed, raising serious due process concerns. Rocket dockets historically have
   been used to pressure children to accept removal orders quickly before they have an
   opportunity to feel settled and supported and often undermine due process for children.
   Rocket dockets not only increase the speed at which Florence Project attorneys have to
   prepare cases of clients we are representing, but also create an increased need for Friend of
   Court services that have been cut under the UCP termination. Since the Florence Project
   began serving children in 2000, a central tenet of our mission has been that no child should
   have to stand alone in court. As Friend of Court, Florence Project staff meet that mission
   even when we cannot represent a child, by being present to stand with the child and help
   the Court understand key facts that are relevant to assess the appropriate next steps in the
   case, such as reunification status, best language, and potential forms of relief. As of the
   date of signing, Florence Project is aware of at least eleven cases moving forward next
   week on the rapid docket in Tucson, including four clients we already represent and seven
   children who do not have counsel, but to whom we would provide Friend of Court services.
   In two of these cases, the children who are on the court’s docket do not appear to have a
   properly filed and served Notice to Appear.
6. The UCP contract termination also has aligned with increased need for legal services on a
   short timeframe in the context of children’s asylum cases. Specifically, on or about March
   27, 2025, Florence Project staff began to receive notices from USCIS of asylum office
   interviews being scheduled in cases with pending asylum applications. As of April 2, 2025,
   Florence Project staff have received asylum interview notices for at least seven clients,
   many with less than two-weeks' notice to prepare. Florence Project attorneys did not get
   any prior notice that an asylum office circuit ride – the term used when asylum officers
   come to Arizona to do many asylum interviews at one time – was planned prior to receiving



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           notice of the scheduled interviews. Due to this asylum office circuit ride, Florence Project
           attorneys have had to quickly reach out to clients to schedule client meetings, conduct final
           preparation and supplemental briefing for interviews, and otherwise coordinate the
           logistics for an asylum interview including identifying and contracting with interpreters –
           in asylum interviews, the petitioner must provide a competent interpreter, which is also a
           cost that typically is paid for through now terminated provisions of the UCP. Asylum
           interviews are very traumatic for children and careful preparation and attention must be
           paid to avoid re-traumatization and to prepare children to talk about the worst days of their
           lives with a complete stranger. Additionally, attorneys must prepare updated, supplemental
           briefings in order to support their client’s claim, which often requires translation of
           documents and evidence from the client’s country of origin. With the loss of UCP-funded
           interpreter services, it has been extremely challenging to prepare the children, prepare the
           supplemental briefing, and schedule an interpreter for the hearing. This is further
           complicated by the fact that many FIRRP child clients speak rare Mayan indigenous
           languages, or unique dialects of less common languages for which interpreters are not
           readily available. Although a TRO has been entered in this case, the Florence Project has
           yet to receive any guidance about whether interpretation services are again available under
           the UCP and is currently paying for these services through other funding.
      7. Six Florence Project clients also will be turning 18 in the month of April, and do not have
         any current sponsorship options. In such cases, Florence Project attorneys and social
         workers routinely work to identify safe, viable placements for these children to help ensure
         that children are placed in the least restrictive setting, as required under law 1, rather than
         sending these vulnerable youth to adult detention. Many such clients may be eligible for
         the Unaccompanied Refugee Minor program (“URM”), however children need support
         both in applying for the program and finding interim housing options since the URM
         program has been at capacity for the past 6 months. While this work historically was
         partially supported through the UCP, Florence Project is currently drawing on other funds
         to try to ensure that children who turn 18 in custody have options for release and do not
         experience the trauma of being moved to adult immigration detention. Furthermore, the
         Florence Project had received referrals for children ORR is intending to potentially transfer
         to the local Unaccompanied Refugee Minor Program, and FIRRP would be unable to offer
         representation to children in the program, resulting in a potential loss of counsel for the
         children.
      8. Additionally, last week, five clients were targeted under DHS’ so-called “missing children”
         visits, despite the children having active cases at USCIS and not actually being missing. In
         every case, Florence Project attorneys have had to work with our clients and their sponsors



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    See Garcia Ramirez v. ICE, No. CV 18-508 (RC), 2021 WL 4284530, at *8, *14 (D.D.C. Sept. 21, 2021).


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       to help them know how to respond and answer their questions in response to this
       traumatizing, fear-inducing experience.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 4 of April 2025, in Seattle, Washington.


______________________________
Roxana Avila-Cimpeanu
Deputy Director
The Florence Immigrant and Refugee Rights Project




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